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 8                         IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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     JUAN CARLOS ALVAREZ,                          Case No. 1:16-cv-00067-MJS
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                                         Plaintiff, ORDER GRANTING SECOND
13                                                  EXTENSION OF TIME TO FILE
                   v.                               OPPOSITION TO MOTION TO DISMISS
14

15   ALEX CHAVARRIA, et al.,
16                                  Defendants.
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18        Plaintiff is a prisoner proceeding pro se and in forma pauperis in this civil rights

19   action brought pursuant to 42 U.S.C. § 1983. On September 12, 2017, Defendant

20   Chavarria filed a motion to dismiss the complaint for failure to state a claim. (ECF Nos.

21   20-22.) Plaintiff did not file a response to the motion to dismiss. On October 19, 2017,

22   the court invited Plaintiff to show good cause why he had not responded and also gave

23   him a further opportunity to oppose Defendant’s motion. (ECF No. 23.) On November 21,

24   2017, Plaintiff filed a motion for a thirty day extension of time to respond to the order to

25   show cause and to the motion to dismiss because he was then confined to

26   administrative segregation and had limited access to the law library and the assistance

27   of others. (ECF No. 24.) The Court granted that motion (ECF No. 25) and discharged the

28   order to show cause (ECF No. 26).
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 1        On January 2, 2018, Plaintiff filed a second motion for extension of time to file a

 2   response to the motion to dismiss. (ECF No. 27.) His grounds were the same as those

 3   stated in in November 21, 2017 motion.

 4        The Court will grant this one further extension, but Plaintiff is advised that

 5   Defendant has a right to have the case move forward, and the Court cannot indefinitely

 6   postpone addressing the pending motion.

 7        GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Plaintiff is granted a

 8   thirty-day extension of time to respond to the motion to dismiss. Plaintiff’s response shall

 9   be filed by February 4, 2018.

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     IT IS SO ORDERED.
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        Dated:     January 4, 2018                       /s/   Michael J. Seng
13                                                 UNITED STATES MAGISTRATE JUDGE
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